1:06-cr-01254-MBS        Date Filed 06/24/13     Entry Number 143        Page 1 of 11




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                                 AIKEN DIVISION

Kelvin Bernard Badger,              )               Criminal No. 1:06-01254-MBS
                                    )
               Movant,              )
       v.                           )
                                    )                    ORDER AND OPINION
United States of America,           )
                                    )
               Respondent.          )
____________________________________)

       This matter is before the court pursuant to a pro se motion by Kelvin Bernard Badger

(“Movant” or “Badger”) to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255

(“motion to vacate”). (ECF No. 131.) The United States of America (“Respondent”) opposes

the motion to vacate and moves the court to grant it summary judgment. (ECF Nos. 133, 134.)

For the reasons set forth below, the court denies Movant’s motion to vacate and grants

Respondent’s motion for summary judgment.

           I.   RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

       Movant is a federal prisoner currently incarcerated at the Big Sandy United States

Penitentiary in Inez, Kentucky. (ECF No. 131-1.) In the instant matter, Movant was named in a

two-count indictment on December 5, 2006, charging him with (“Count 1”) possession of a

firearm by a felon, in violation of 18 U.S.C. §§ 922(g)(1), 924(a)(2), and 924(e); and (“Count 2”)

possession with intent to distribute a quantity of cocaine, 50 grams or more of cocaine base, and

a quantity of marijuana, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), 841(b)(1)(C), and

841(b)(1)(D). (ECF No. 1.) On December 27, 2006, Respondent filed an information to

communicate to Defendant that he was subject to increased penalties under 21 U.S.C. § 851


                                           1
1:06-cr-01254-MBS        Date Filed 06/24/13      Entry Number 143           Page 2 of 11




based on two prior drug convictions under South Carolina law for “Trafficking in Cocaine” and

possession of marijuana with intent to distribute. (ECF No. 9.) On December 28, 2006, Movant

entered an initial plea of not guilty to the charges in the indictment. (ECF No. 12.)

       Thereafter, a trial was held on September 20, 2007, and the jury found Defendant guilty

as to the two counts in the indictment. (ECF Nos. 71, 74.) On June 18, 2008, the court

sentenced Movant to a mandatory term of imprisonment of life in the Bureau of Prisons,

consisting of 120 months as to Count 1 and life as to Count 2, to run concurrently. (ECF No.

98.) Judgment was entered on June 19, 2008. (Id.) Movant appealed his conviction and

sentence to the Court of Appeals for the Fourth Circuit (the “Fourth Circuit”) on June 25, 2008.

(ECF No. 102.) On September 9, 2011, the Fourth Circuit affirmed Movant’s conviction and

sentence (effective October 3, 2011). (ECF Nos. 139, 140.)

       On August 27, 2010, Movant filed the instant motion to vacate his sentence, asserting

ineffective assistance of counsel as his ground for relief. (ECF No. 131.) Respondent filed

opposition to Movant’s motion to vacate and a motion for summary judgment on September 27,

2010. (ECF Nos. 133, 134.) Movant filed a reply in support of his motion to vacate on

November 11, 2010. (ECF No. 137.)

       The court has reviewed the record and finds that the motions of Movant and Respondent

are suitable for disposition without evidentiary hearing or oral argument.

                                  II.   LEGAL STANDARD

A.     Motions to Vacate Generally

        A federal prisoner in custody may challenge the fact or length of his detention by filing a

motion pursuant to 28 U.S.C. § 2255. To receive relief under 28 U.S.C. § 2255, a movant is


                                           2
1:06-cr-01254-MBS         Date Filed 06/24/13    Entry Number 143        Page 3 of 11




required to prove by a preponderance of the evidence that his sentence was imposed in violation

of the Constitution or laws of the United States, or that the court was without jurisdiction to

impose such sentence, or that the sentence was in excess of the maximum authorized by law, or

is otherwise subject to collateral attack. 28 U.S.C. § 2255(a). If this showing is made, the court

must “vacate and set the judgment aside” and “discharge the prisoner or resentence him or grant

a new trial to correct the sentence as may appear appropriate.” 28 U.S.C. § 2255(b). If, on the

other hand, “the motion and the files and records of the case conclusively show that the prisoner

is entitled to no relief,” the court may summarily deny the petition without holding a hearing.

Rule 4(b), Rules Governing Section 2255 Proceedings; see also 28 U.S.C. § 2255(b) (a hearing

is not required on a § 2255 motion if the record of the case conclusively shows that petitioner is

entitled to no relief).

        Generally, when a movant attacks his sentence based upon errors that could have been

but were not pursued on direct appeal, the movant must show cause and actual prejudice

resulting from the errors of which he complains or he must demonstrate that a miscarriage of

justice would result from the refusal of the court to entertain the collateral attack. See United

States v. Mikalajunas, 186 F.3d 490, 492-93 (4th Cir. 1999) (citing United States v. Frady, 456

U.S. 152, 167-68 (1982); United States v. Maybeck, 23 F.3d 888, 891-92 (4th Cir. 1994)).

However, “an ineffective-assistance-of-counsel claim may be brought in a collateral proceeding

under § 2255, whether or not the petitioner could have raised the claim on direct appeal.”

Massaro v. United States, 538 U.S. 500, 504 (2003).

B.      Ineffective Assistance of Counsel

        The Sixth Amendment guarantees criminal defendants the right to effective assistance of


                                            3
1:06-cr-01254-MBS        Date Filed 06/24/13     Entry Number 143        Page 4 of 11




counsel. Strickland v. Washington, 466 U.S. 668, 686 (1984). To prevail on a claim of

ineffective assistance of counsel, Movant must show both that his attorney’s performance fell

below an objective standard of reasonableness and that he suffered actual prejudice. Strickland,

466 U.S. at 687. To demonstrate deficient performance, Movant must show that counsel made

errors so serious that counsel was not functioning as the “counsel” guaranteed the defendant by

the Sixth Amendment. Id. Competency is measured by what an objectively reasonable attorney

would have done under the circumstances existing at the time of the representation. Id. at 687-

88. To demonstrate actual prejudice, Movant must demonstrate a “reasonable probability that,

but for counsel’s unprofessional errors, the result of the proceeding would have been different.”

Id. at 694. A “reasonable probability” is “a probability sufficient to undermine confidence in the

outcome.”    Id.   Even if counsel’s performance is outside the wide range of professional

assistance, an error by counsel will not warrant setting aside the conviction if the error had no

effect on the judgment. Id. “[A] court need not determine whether counsel’s performance was

deficient before examining the prejudice suffered by the defendant as a result of the alleged

deficiencies.” Id. at 697.

       A criminal defendant’s right to effective assistance of counsel continues through a direct

appeal. See Evitts v. Lucey, 469 U.S. 387, 395-96 (1985). To establish prejudice relating to the

actions of appellate counsel, the movant must establish a reasonable probability that, but for his

counsel’s unreasonable failure to include a particular issue on appeal, he would have prevailed

on his appeal. Smith, 528 U.S. at 285–86.

C.     Liberal Construction of Pro Se Claims

       The court is required to construe pro se pleadings liberally. See, e.g., Estelle v. Gamble,


                                            4
1:06-cr-01254-MBS        Date Filed 06/24/13         Entry Number 143     Page 5 of 11




429 U.S. 97, 106 (1976); Haines v. Kerner, 404 U.S. 519, 520 (1972); Loe v. Armistead, 582

F.2d 1291, 1295 (4th Cir. 1978); Gordon v. Leeke, 574 F.2d 1147, 1151 (4th Cir. 1978). Pro se

pleadings are held to a less stringent standard than those drafted by attorneys. Haines, 404 U.S.

at 520. Nevertheless, the requirement of liberal construction does not mean that the court can

ignore a clear failure in the pleading to allege facts which set forth a claim currently cognizable

in a federal district court. Weller v. Dep’t of Soc. Servs., 901 F.2d 387, 390–91 (4th Cir. 1990).

                                        III.       ANALYSIS

A.     The Arguments of the Parties

       In his motion to vacate, Movant claims he received ineffective assistance of counsel,

asserting that his attorney’s performance was deficient because he did not (1) object to an

indictment that was untimely under § 3161(b) of the Speedy Trial Act, 18 U.S.C. §§ 3161-3174;

(2) argue that a life sentence resulting from the 100 to 1 crack cocaine to powder cocaine

sentencing disparity violated Movant’s “Due Process and Equal Protection rights” and was at

odds with the demands of 18 U.S.C. § 3553(a) that the court impose a sentence “sufficient, but

not greater than necessary, to comply with the purposes [of sentencing]”1; and (3) argue that

Movant’s 2001 conviction for “Trafficking in Cocaine” “involved only possession, not

possession with intent to distribute, and thus, should not have been used for enhancement

purposes under 21 U.S.C. § 851.” (ECF No. 131 at 3, 7-8, 11.)

       In opposing Movant’s motion and in moving for summary judgment, Respondent argues

that the performance of Movant’s counsel was not deficient for failing to make meritless



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 Movant calculates that 120 months was the most punitive sentence he should have received. (ECF
No. 131 at 9-10.)

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1:06-cr-01254-MBS        Date Filed 06/24/13      Entry Number 143         Page 6 of 11




arguments on the issues raised by Movant in his motion to vacate. In support of this argument,

Respondent asserts that Movant’s claims are without merit that his arrest by state authorities

triggered the protections of the Speedy Trial Act or that his indictment on December 5, 2006

violated the statute of limitations. (ECF No. 133 at 4-5 (citing United States v. Iaquinta, 674

F.2d 260, 264 (4th Cir. 1992) (“A state arrest is not relevant for federal speedy trial purposes.”);

18 U.S.C. § 3282 (The federal statute of limitations is 5 years.)).) Respondent further asserts

that Movant’s argument that a life sentence was unreasonable and in violation of his “Due

Process and Equal Protection rights” is foreclosed by Fourth Circuit precedent. (Id. at 8-9 (citing

United States v. Perkins, 108 F.3d 512, 518-19 (4th Cir. 1997) (rejecting equal protection

challenge to the disparate statutory mandatory minimums applicable to crack cocaine and

powder cocaine offenses); United States v. Fisher, 58 F.3d 96, 99-100 (4th Cir. 1995) (rejecting

due process challenge to the same)).) Moreover, Movant cannot rely on the Fair Sentencing Act

of 20102 because the act does not provide a basis for challenging his conviction and sentence by

collateral attack. (Id. at 9-10.) Finally, Respondent asserts that Movant’s 2001 conviction for

“Trafficking in Cocaine” was a properly included prior felony drug offense under 21 U.S.C. §

851 because it was punishable by imprisonment for more than 1 year.3 (Id. at 11-12 (citing 21


2
 The Fair Sentencing Act of 2010, Pub. L. No. 111-220, 124 Stat. 2372 (Aug. 3, 2010), changed the
statutory penalty provisions for an offense involving 28 grams of more of cocaine base.
Specifically, the FSA narrowed the gap in sentencing between crack cocaine and powder cocaine
by raising the threshold quantity for imposition of a 5 year mandatory minimum sentence from 5
grams of crack cocaine to 28 grams of crack cocaine; and by raising the threshold quantity for
imposition of a 10 year mandatory minimum sentence from 50 grams of crack cocaine to 280 grams
of crack cocaine.
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 Respondent also noted “that in 2001 a conviction for simple possession of Cocaine in violation of
South Carolina Code Section 44-53-370 was punishable by imprisonment for more than one year.”
(ECF No. 133 at 12.) “Thus even if BADGER had been convicted of simple possession of cocaine,

                                           6
1:06-cr-01254-MBS        Date Filed 06/24/13       Entry Number 143        Page 7 of 11




U.S.C. § 802(44) (A felony drug offense is “an offense that is punishable by imprisonment for

more than one year under any law of the United States or of a State . . . that prohibits or restricts

conduct relating to narcotic drugs, marijuana, anabolic steroids, or depressant or stimulant

substances.”)).)   Based on the foregoing, Respondent argues that its motion for summary

judgment should be granted and Movant’s motion to vacate should be denied.

       In response to Respondent’s arguments, Movant reasserts that he received a life sentence

under § 841(a)(1)(A) due to the ineffective assistance of his attorney. In this regard, Movant

complains that a competent attorney would have (1) conducted a proper investigation into the

facts of the convictions identified in the information filed by Respondent and (2) challenged the

usage of Movant’s prior state court convictions to enhance his sentence to life under 21 U.S.C. §

851. (ECF No. 137-1 at 3-13 (citing, e.g., Shepard v. United States, 544 U.S. 13 (2005)).)

Movant further complains that a competent attorney would have argued that application of the

100 to 1 crack cocaine to powder cocaine ratio, which resulted in a life sentence for possessing

more than 50 grams of crack cocaine, violates the demands of 18 U.S.C. § 3553(a) because the

punishment is greater than necessary to comply with the statutory purposes of sentencing. (Id. at

15-22.) Moreover, Movant asserts that the patent unfairness of his life sentence can be corrected

by retroactive application of the Fair Sentencing Act of 2010:

        The real reason for retroactivity is the protection for the innocent against
       erroneously conviction or punishment and assuring fundamentally fair procedures
       when the government finally recognizes its mistakes. Namely the new law is here
       to protect the rights of those wronged in the past by applying fundamental
       procedures to case prior to the enactment. For the foregoing reasons above, Mr.
       Badger’s sentence should be corrected to warrant the fairness in sentencing.


he would have still faced a mandatory life sentence based on his conviction on Count 2.” (Id.)


                                            7
1:06-cr-01254-MBS         Date Filed 06/24/13       Entry Number 143         Page 8 of 11




(Id. at 27.)

        Finally, Movant contends that a competent attorney would have objected to Respondent’s

use of an indictment that was untimely because it was filed 9 months after Movant engaged in

illegal conduct. (Id. at 28-33.) In light of the foregoing, Movant asserts that he has established

the deficient performance of his attorney and has further provided evidence of actual prejudice

because “if his defense counsel [had] been effective as provided by the Sixth Amendment, he

[Movant] would not be imprisoned to a term of Life.” (Id. at 2, 13.) Accordingly, Movant asks

the court to grant his motion to vacate.

B.      The Court’s Review

        Upon the court’s review, Movant has not met his burden of establishing deficient

performance by his attorney to sustain a claim of ineffective assistance of counsel. In this

regard, the underlying record does not support Movant’s claim that a properly conducted

investigation and objection by his attorney would have resulted in the removal of one or both of

the predicate state court convictions used to enhance Movant’s sentence to life. In South

Carolina, trafficking in cocaine (first offense) and possession of marijuana with intent to

distribute are properly classified as felony drug offenses. See S.C. Code §§ 44-53-370(e) (2000)

(“Any person knowingly sells, manufactures, . . . ten grams or more of cocaine . . . is guilty of a

felony which is known as “trafficking in cocaine” and, upon conviction, must be punished as

follows if the quantity involved is: (a) ten grams or more, but less than twenty-eight grams: 1. for

a first offense, a term of imprisonment of not less than three years nor more than ten years, . . .

.”); 44-53-370(a) & (b) (2000)        (“[I]it shall be unlawful for any person: to manufacture,

distribute, . . . a controlled substance . . . [a] person who violates . . . is guilty of a felony and,


                                             8
1:06-cr-01254-MBS        Date Filed 06/24/13      Entry Number 143        Page 9 of 11




upon conviction, for a first offense must be imprisoned not more than fifteen years . . . .”)

Therefore, Movant’s claim that his attorney was objectively unreasonable for failing to object to

the enhancement of Movant’s sentence based on prior state convictions that were not felonies is

without merit.

       The court further agrees with Respondent that Movant’s attorney was not deficient for

failing to challenge the reasonableness of his life sentence on Due Process and/or Equal

Protection grounds.     Moreover, Movant’s attempt to give retroactive effect to the Fair

Sentencing Act fails to have merit because the law lacks a provision making it retroactive, and

the Fourth Circuit has specifically held that it is not to be applied retroactively. See United

States v. Bullard, 645 F.3d 237, 248–49 (4th Cir. 2011) (declining to apply the Fair Sentencing

Act retroactively to cases pending appeal in the face of 1 U.S.C. § 109, The General Savings

Statute); United States v. Wilson, 401 Fed. App’x 760, 762 (4th Cir. 2010) (concluding that the

Fair Sentencing Act did not apply retroactively to defendant sentenced before act took effect).

        Finally, Movant’s contention is without merit that his attorney was deficient for not

moving to dismiss the indictment for violating the Speedy Trial Act. Generally, the Speedy Trial

Act requires that the trial4 of a defendant charged in an indictment with the commission of an

offense to commence within seventy days of either (1) the indictment's filing date or (2) the

defendant's first arraignment before the court, whichever occurs later.         See 18 U.S.C. §

3161(c)(1); see also United States v. Osteen, 254 F.3d 521, 525 (4th Cir. 2001). “However, the



4
 For purposes of the Speedy Trial Act, a trial normally commences with the voir dire of the jury.
See United States v. A–A–A Elec. Co., 788 F.2d 242, 246 (4th Cir. 1986). Thus, a trial for purposes
of the Speedy Trial Act commences on the date of jury selection.


                                           9
1:06-cr-01254-MBS           Date Filed 06/24/13   Entry Number 143       Page 10 of 11




period may be tolled for a variety of reasons, including when the defendant files a pre-trial

motion, 18 U.S.C. § 3161(h)(1)(F), or when defense counsel requests more time to prepare, 18

U.S.C. § 3161(h)(8)(A)” or if the court grants a continuance in order to serve “the ends of

justice.” See United States v. Hopkins, 310 F.3d 145, 149 (4th Cir. 2002); see also 18 U.S.C. §

3161(h)(7)(A).    Although nearly 9 months passed between Movant’s arraignment and the

commencement of his trial, his statutory right was not violated because the delay was occasioned

almost exclusively by motions and requests from Movant himself.             Specifically, Movant

requested and was granted continuances by the court, thereby tolling the Speedy Trial Act from

March 1 to September 6, 2007. (See ECF Nos. 28, 34, 43.) Taking into account the days that

the Speedy Trial Act was tolled, Movant was tried within 70 days of his arraignment. Therefore,

the court finds that a violation of the Speedy Trial Act did not occur. In this regard, Movant’s

attorney did not fall below an objective standard of reasonableness for failing to move to dismiss

the indictment.

        Based on the foregoing, Movant is unable to establish deficient performance by his

attorney under Strickland.5 Accordingly, Movant’s claim for ineffective assistance of counsel

fails as a matter of law.

                                      IV.    CONCLUSION

        Upon careful consideration of the entire record and the arguments of the parties, the court

is of the opinion that Movant Kelvin Bernard Badger’s motion to vacate, set aside, or correct his


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  With this finding, the court need not address the prejudice component of Movant’s ineffective
assistance claim. Strickland, 466 U.S. at 697 (“[T]here is no reason for a court deciding an
ineffective assistance claim to . . . address both components of the inquiry if the defendant makes
an insufficient showing of one.”)


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1:06-cr-01254-MBS       Date Filed 06/24/13       Entry Number 143      Page 11 of 11




sentence pursuant to 28 U.S.C. § 2255 should be and is hereby DENIED. (ECF No. 131.) The

motion for summary judgment of the United States of America is hereby GRANTED, and this

matter is dismissed with prejudice. (ECF No. 134.)

                         V.   CERTIFICATE OF APPEALABILITY

       A certificate of appealability may issue only if the applicant has made a substantial

showing of the denial of a constitutional right. 28 U.S.C. § 2253(c). A prisoner satisfies this

standard by demonstrating that reasonable jurists would find this court’s assessment of his

constitutional claims is debatable or wrong and that any dispositive procedural ruling by the

district court is likewise debatable. See, e.g., Miller-El v. Cockrell, 537 U.S. 322, 336 (2003);

Slack v. McDaniel, 529 U.S. 473, 484 (2000); Rose v. Lee, 252 F.3d 676, 683 (4th Cir. 2001).

In this matter, the legal standard for the issuance of a certificate of appealability has not been

met. Therefore, the court DENIES a certificate of appealability.

       IT IS SO ORDERED.




                                               s/Margaret B. Seymour____________________
                                               MARGARET B. SEYMOUR
                                               SENIOR UNITED STATES DISTRICT JUDGE
June 20, 2013
Columbia, South Carolina




                                          11
